     Case 2:07-cr-02080-RHW          ECF No. 395      filed 09/22/08   PageID.1242 Page 1 of 1



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 6                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WASHINGTON
 7
 8    UNITED STATES OF AMERICA,                         NOS. CR-07-2080-RHW-2
 9                                                           CR-07-2080-RHW-3
                Plaintiff,
10              v.
11                                                      ORDER DISMISSING
      ROSA ABUNDIZ, and ROMAN                           INDICTMENTS
12    ABUNDIZ,

13              Defendants.

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            A pretrial hearing was held on June 30, 2008. At the hearing, the Court
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     granted the Government’s oral motion to dismiss the Indictments filed against
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     Defendants Rosa Abundiz and Roman Abundiz.
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            Accordingly, IT IS HEREBY ORDERED:
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            1. The Indictments filed in the above-captioned cases are dismissed
19
     without prejudice.
20
            IT IS SO ORDERED. The District Court Executive is directed to enter this
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     Order and to provide copies to counsel.
22
            DATED the 22nd day of September, 2008.
23
24                                          s/ Robert H. Whaley
25                                   ROBERT H. WHALEY
                                 Chief United States District Judge
26
27
28   Q:\CRIMINAL\2007\07-2080\dismiss.wpd



     ORDER DISMISSING INDICTMENTS ~ 1
